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       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION




 UTAH EDUCATION ASSOCIATION, et al.,
                         Plaintiffs,                                     ORDER
                                                                          AND
                 vs.                                         MEMORANDUM DECISION


 MARK SHURTLEFF, in his official capacity                     Case No. 2:03-CV-1100 TC
 as Attorney General for the State of Utah,
                         Defendant.



       Section 34-32-1.1(2)(g) of the Utah Code (“the Statute”) makes it unlawful for any public

employer in Utah to grant an employee’s request to make voluntary contributions through payroll

deductions to political funds sponsored by labor organizations. The Plaintiffs are five labor

organizations and one association of labor organizations. They have filed this declaratory action

against Mark Shurtleff, the Attorney General of the State of Utah, claiming that the Statute

violates the First Amendment, insofar as it applies to municipalities, counties, school districts,

and other local public employers.

       The court concludes that the Statute is a content-based restriction on free speech, subject

to strict scrutiny. Because the State has not shown that the Statute is narrowly tailored to serve a

compelling state interest, the court agrees with the Plaintiffs and finds that the Statute is

unconstitutional.
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                                               ANALYSIS1

A.      The Statute is Subject to Strict Scrutiny.

        Laws that are content-based (that is, laws that restrict speech only on specified subjects)

trigger strict scrutiny. See, e.g., Simon & Schuster, Inc. v. Members of N.Y. State Crime Victims

Bd., 502 U.S. 105, 116-18 (1991); Consolidated Edison Co. of NY v. Public Serv. Comm’n of

NY, 447 U.S. 530, 537-38 (1980). The Statute reads in relevant part that “[a] public employer

may not deduct from the wages of its employees any amounts to be paid to . . . any entity

established by a labor organization to solicit, collect, or distribute monies primarily for political

purposes as defined in this chapter.” Utah Code Ann. § 34-32-1.1(2)(g). “Political purposes” is

defined as an “an act done with the intent or in a way to influence or tend to influence, directly or

indirectly, any person to refrain from voting or to vote for or against any candidate for public

office at any caucus, political convention, primary, or election.” Id. § 34-32.1.1(1)(b).

        The Statute only prohibits payroll deductions for political purposes. The Plaintiffs

contend, and the court agrees, that the Statute is content-based. The State points out, correctly,

that the Statute “draws no distinction based on the political message or viewpoint of the

organization.” (Def.’s Opp’n Mem. 11.) But the fact that the Statute is viewpoint neutral makes

no difference. A content-based regulation is subject to strict scrutiny, even though it does not

favor any particular viewpoint. Consolidated Edison, 447 U.S. at 536-38.

        The State argues that the payroll systems are its property, that they are private forums, and

therefore, strict scrutiny is not appropriate. But neither the facts nor the applicable law supports



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            The parties have stipulated to the material facts. (See Stipulation of Facts, Dkt. # 11.)

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the State’s argument. The parties have stipulated that the payroll systems are maintained and

administered by the public employers, not the State (Stipulation of Facts ¶ 9.) Moreover, state

law indicates that the payroll systems of the counties, cities and school districts that employ the

members of the Plaintiffs are the property of those local entities, not of the State, and are under

the direction and control of the local governments. See, e.g., Utah Code Ann. §§ 53A-2-108(2)

(“The local school board shall have direction and control of all school property in the district.”);

53A-2-105(2) (“Title to [school] property . . . vests in the . . . [local] board of education”); 10-8-1

(“The boards of commissioners and city councils of cities shall have the power to control

finances and property of the corporation”); 10-8-2(1)(a)(ii) (“A municipal legislative body may

. . . purchase, receive hold, sell, lease, convey, and dispose of real and personal property for the

benefit of the municipality.”). Despite this, the State contends that because it has “plenary

power” over the local governments, including the power to create the local governments, then it

is the owner of the payroll systems. (Def.’s Mem. Opp’n Mot. Summ. J. 5-7.)

       The Supreme Court has rejected a similar argument. In Consolidated Edison Co. of NY,

Consolidated Edison, a public utility company, claimed that an order of the New York Public

Service Commission—which prohibited Consolidated Edison from including in its monthly bills

inserts advocating the development of nuclear energy—violated the First Amendment. 447 U.S.

at 532-33. The Court acknowledged that Consolidated Edison was a government-regulated

monopoly and that the State of New York had “a legitimate regulatory interest in controlling

Consolidated Edison’s activities . . . .” Id. at 540. Still, the Court did not agree with the State’s

argument that “the billing envelope [in which the inserts were placed], as a necessary adjunct to

the operations of a public utility, is subject to the State’s plenary control.” Id. Further, the Court

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made clear that the State could not rely on “precedent that rests on the special interests of a

government in overseeing the use of its property.” Id.

       Just like the State of New York did, the State of Utah relies on cases where courts upheld

restrictions placed by governments on their own property, particularly the decision in Cornelius

v. NAACP Legal Defense & Education Fund, Inc., 473 U.S. 788 (1985). But Cornelius and

similar cases do not apply here.

       In Cornelius, the NAACP and other plaintiffs claimed that the federal government’s

decision to exclude them from participating in the Combined Federal Campaign (“an annual

charitable fund-raising drive conducted in the federal workplace”) was a violation of the First

Amendment. Id. at 790, 793. The Court disagreed, “[r]ecognizing that the Government, ‘no less

than a private owner of property, has power to preserve the property under its control for the use

to which it is lawfully dedicated . . . .’” Id. at 800 (emphasis added) (quoting Greer v. Spock,

424 U.S. 828, 836 (1976)). The significant factual distinction between Cornelius and this case is

that the payroll systems at issue here are not the property of the State of Utah.

       Given that distinction, the “forum analysis” used by the Court in Cornelius,2 and which

the State of Utah contends applies, is not appropriate in this case. The Plaintiffs in this case are

not challenging the State’s decision to prevent the State’s payroll system from being used to




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         “Even protected speech is not equally permissible in all places and at all times. Nothing
in the Constitution requires the Government freely to grant access to all who wish to exercise
their right to free speech on every type of Government property without regard to the nature of
the property or to the disruption that might be caused by the speaker’s activities. . . . [T]he Court
has adopted a forum analysis as a means of determining when the Government’s interest in
limiting the use of its property to its intended purpose outweighs the interest of those wishing to
use the property for other purposes.” Cornelius, 473 U.S. at 799-800 (emphasis added).

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make political contributions. Instead, the Plaintiffs are challenging the State’s decision

(expressed in the Statute) to prevent local public employers from granting an employee’s request

to make voluntary contributions through payroll deductions to political funds sponsored by labor

organizations.3

B.      The State Has Not Shown that the Statute Is Narrowly Tailored to Serve a
        Compelling State Interest.

        Because strict scrutiny is applicable, “‘the State must show that its regulation is necessary

to serve a compelling state interest and is narrowly drawn to achieve that end.’” Simon &

Schuster, 502 U.S. at 118 (quoting Arkansas Writers’ Project v. Ragland, 481 U.S. 221, 231

(1987)). Although the State of Utah advances several arguments in support of its contention that

the Statute serves a legitimate government purpose, the court concludes that the State has not met

its burden.

        The State argues that the Statute merely reflects a decision not to subsidize the process of

political contributions and that the State is not required by the First Amendment to devote its

resources to collect political contributions from its employees. But the State incurs no expense

as a result of the payroll deductions. And the local employer can require the employee or the

union to bear the cost of the deduction (which the parties have agreed is “slight” (Stipulation of




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         The Sixth Circuit upheld a statutory prohibition on payroll deductions of political
contributions that applied to all public employers, including local governments. Toledo Area
AFL-CIO Council v. Pizza, 154 F.3d 307, 312 (6th Cir. 1998). But, apparently because the
plaintiffs in Pizza had unrelated reasons not to acknowledge the difference between state and
local employees, they did not raise the argument that there was a difference between the
ownership of state payroll systems and those belonging to local governments. (See Pls.’ Reply
Mem. Supp. Mot. Summ. J. 3 n.1.) Accordingly, the court does not find the Pizza decision
persuasive.

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Facts ¶ 16)).

       The State also asserts that the Statute is a guard against the perception that labor

organizations enjoy preferential treatment by the government. But the State has not pointed to

anything in Utah law that prohibits public employers from allowing employees to use payroll

deductions to make contributions to other entities. And the State offers no evidence to support

its position that public employers have given preferential treatment to labor organizations.

       The final justification given by the State is that the Statute prevents political pressures on

public employees and protects public employers from the problems of picking and choosing

which political entities are “worthy (or unworthy) of a payroll deduction benefit. . . .” (Def.’s

Opp’n Mem. 14.) Again, as part of this argument, the State argues that the Statute prevents

“partisan political activities [in] the workplace” and “inhibit[s] the entanglement of public

employers with the partisan, political activities of private actors.” (Id. at 16.) But there is

nothing in the record that shows that the practice of voluntary payroll deductions has ever been

the cause of political pressure or that public employers have become “entangled” with private

political activities as a results of payroll deductions. In fact, it appears that allowing an employee

to make the decision to contribute to a political activity by means of payroll deductions is a

private matter between the employer and employee.

       Even if the concerns raised by the State had some evidentiary support for an absolute ban

on voluntary payroll contributions, the State has not shown how the Statute is narrowly tailored

to address these concerns.




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                                      ORDER

   For the foregoing reasons, the Plaintiffs’ Motion for Summary Judgment is GRANTED.

   DATED this 3rd day of May, 2006.

                                      BY THE COURT:



                                      TENA CAMPBELL
                                      United States District Judge




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